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                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  LUFKIN DIVISION

 UNITED STATES OF AMERICA                         §
                                                  §
 V.                                               §    CASE NO. 9:13-CR-21(3)
                                                  §
 SHANARA GREER                                    §

          ORDER ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                      ON DEFENDANT’S GUILTY PLEA

        The Court referred this matter to the Honorable Keith F. Giblin, United States Magistrate

 Judge, for administration of a guilty plea under Rules 11 and 32 of the Federal Rules of Criminal

 Procedure. Judge Giblin conducted a hearing in the form and manner prescribed by Federal Rule

 of Criminal Procedure 11 and issued his Findings of Fact and Recommendation on Guilty Plea

 Before the United States Magistrate Judge [Doc. #154]. The magistrate judge recommended that

 the Court accept the defendant’s guilty plea and conditionally accept the plea agreement. He further

 recommended that the Court finally adjudge the defendant as guilty on Count One and Count Two

 of the charging Information filed against the defendant in this cause.

        The parties waived their right to object to the magistrate judge’s findings. The Court

 ORDERS that the Findings of Fact and Recommendation on Guilty Plea [Doc. #154] of the United

 States Magistrate Judge are ADOPTED. The Court accepts the defendant’s plea, but defers

 acceptance of the plea agreement until after review of the presentence report. The Court further

 ORDERS the defendant’s attorney to read and discuss the presentence report with the defendant,

 and file any necessary objections to the report before the date of the sentencing hearing.




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        It is further ORDERED that, in accordance with the defendant’s guilty plea and the

 magistrate judge’s findings and recommendation, the defendant, Shanara Greer, is adjudged as guilty

 on Count One and Count Two of the Information charging violations of 21 U.S.C. § 841(a)(1) and

 18 U.S.C. § 1001.


          So ORDERED and SIGNED this 1 day of July, 2014.




                                                       ___________________________________
                                                       Ron Clark, United States District Judge




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